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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        September 11, 2021

Via Email and Electronic File Transfer

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                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, today, the government produced certain materials from the case file (referred to as
Sentinel files) maintained by the Federal Bureau of Investigation for defendant Zachary Rehl.
These materials will be provided separately to recently-appointed counsel for Mr. Rehl.

       To facilitate and expedite this “cross-discovery” of case file materials to co-defendants, all
of the materials produced from a co-defendant’s case file have been designated as (at
minimum) Sensitive pursuant to the Protective Orders entered in this case (ECF 83 and 103),
unless the materials are designated Highly Sensitive, in which case that designation applies.
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       These designations are reflected in the folder structure on USAfx. For example, materials
from case files of Defendant Rehl that will be produced to Defendant Rehl without a designation
are produced to you today in a folder titled “REHL Sentinel Files Round 2 – SENSITIVE as to
NORDEAN, BIGGS, and DONOHOE.”

       An index for the produced materials has been included with the production.

       Please keep in mind that all of the items placed in the USAfx case-folder will be deleted
automatically – some in as few as 60 days. Please let me know immediately if you have been
unable to access and download the materials for your use in this case.

       Please contact me should you have any questions or concerns.


                                                   Sincerely yours,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:           /s/
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